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13
14                                 UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
15                                    SAN FRANCISCO DIVISION
16
17   AMERICAN FEDERATION OF
     GOVERNMENT EMPLOYEES, et al.
18
               Plaintiffs,                                      Case No. 3:25-cv-03698-SI
19
                       v.
20                                                REPLY IN SUPPORT OF DEFENDANTS’
21   DONALD J. TRUMP, in his official capacity as MOTION FOR A PROTECTIVE ORDER
     President of the United States, et al.,      OR IN THE ALTERNATIVE FOR
22                                                RECONSIDERATION AND REQUEST
              Defendants.                         FOR AN IMMEDIATE
23                                                ADMINISTRATIVE STAY
24
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 1           Plaintiffs sought and received a sweeping temporary restraining order (TRO) 1 that enjoins
 2   the Office of Management and Budget (OMB), the Office of Personnel Management (OPM), the
 3   United States DOGE Service (USDS), twelve Cabinet-level Departments, and numerous other
 4   components from implementing or enforcing sections 3(c) and 3(e) of Executive Order 14210
 5   (Workforce Executive Order) and the February 26, 2025 OMB/OPM Memorandum (Workforce
 6   Memorandum). The Court found that statutory authority for the Workforce Executive Order was
 7   “plainly lacking.” As to the Memorandum, the Court held that it asserted authority “far outside the
 8   bounds of any authority that Congress vested in OPM or OMB.” The Court also held that OPM
 9   and OMB unlawfully engaged in rule-making without following notice-and-comment procedures
10   when they issued the Workforce Memorandum and whenever OPM/OMB approve ARRPs. The
11   Court stated all of this and more in a 42-page opinion, after holding a live hearing and reviewing
12   extensive briefing (including principal briefs from both parties double the size permitted under the
13   local rules, and amicus briefs on both sides). The Government respectfully disagrees with the
14   Court’s conclusions, as well as its characterization of the Workforce Executive Order and
15   Workforce Memorandum. But because the Court was able to enter equitable relief for Plaintiffs
16   based on Plaintiffs’ facial challenges to the Workforce Executive Order and Workforce
17   Memorandum, Plaintiffs cannot show that they need access to the Agency RIF and Reorganization
18   Plans (ARRPs) at the preliminary injunction stage.
19           None of this is enough for Plaintiffs. According to them, the Government should also be
20   required to produce all ARRPs, extensive long- and intermediate-term agency planning documents
21   that memorialize agencies’ thinking at one stage of an interagency dialogue about policy choices
22   to be made down the road, and which include highly sensitive information such as “strategies for
23   agency negotiations with unions,” “present and future appropriations requests,” and
24   “congressional engagement.” And they would have this Court direct the Government to turn over
25   all of these sensitive agency planning documents immediately—a step which would of course be
26
27   1
       As noted in Defendants’ motion, see ECF No. 88 (Motion) at 1, Defendants contest that this order
     is properly characterized as a TRO, but for ease of reference, Defendants will refer to it as a TRO
28
     here.

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 1   irreversible—without a protective order and without an opportunity for the Government to orderly
 2   seek appellate review. All of this even though Plaintiffs never filed a discovery motion, never
 3   conferred with the Government on any such motion, did not follow any of the local rule
 4   requirements for resolving discovery disputes, and included a single conclusory paragraph on the
 5   subject in their TRO motion that contained no meaningful legal justification and as to which the
 6   Government responded under a briefing schedule it opposed. This is extraordinary. The Court
 7   should grant reconsideration or a protective order that relieves the government of the obligation to
 8   produce the ARRPs and the other materials the Court has ordered produced.
 9           As a threshold matter, the ARRPs are privileged. Plaintiffs insist that they are not
10   predecisional or deliberative because, among other flawed arguments, OPM/OMB purportedly
11   approve the ARRPs and the Workforce Memorandum sets forth the items ARRPs should include.
12   But any approval function OMB and OPM exercise does not change the fact that ARRPs are
13   agency planning documents, such documents are always subject to change, and agencies are not
14   required to follow every plan, strategy, and recommendation in an ARRP. This is clear not only
15   from the declaration Defendants submitted but from the Workforce Memorandum itself, which
16   plainly contemplates agency submissions of plans that include potential steps which will not be
17   effectuated until far into the future, if at all. And although the Workforce Memorandum may set
18   forth the topics ARRPs should address, the substance of the agency’s recommendations, plans,
19   and strategies on those topics (set forth in the ARRPs) are plainly privileged.
20           Nor do Plaintiffs have any serious response to the Government’s explanation of the
21   irreparable harm that would flow from irreversible disclosure of the ARRPs and associated plan
22   documents. Plaintiffs submit portions of one ARRP from one agency that is not a defendant in this
23   lawsuit and that is fundamentally unlike the agencies in this suit. They only attach the cover sheet
24   from that agency’s Phase 2 ARRP, not the entire report. And in any event, the materials Plaintiffs
25   submit from that agency, far from supporting Plaintiffs, were clearly privileged before they were
26   disclosed and only underscore the predecisional and deliberative nature of ARRPs.
27           But to the extent the Court has any doubt about whether the ARRPs are actually privileged,
28   the appropriate solution is to require Plaintiffs to file the discovery motion they should have filed


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 1   in the first place but did not, and to allow for orderly briefing on that question. Plaintiffs’
 2   contention that the Government did not provide enough specificity about the basis for its privilege
 3   assertions is facially ridiculous since Plaintiffs never made a discovery request, never filed a
 4   discovery motion, did not follow the local rules for resolving disclosure disputes, and given that
 5   the Court issued the Disclosure Order late Friday night with a Tuesday deadline. It is entirely
 6   unwarranted that the Government is being forced to litigate its privilege assertions on an
 7   emergency basis like this to begin with. The Government’s submissions amply justify its privilege
 8   assertions in light of that context.
 9           Putting all of this aside, there is still no basis for ordering immediate production of the
10   ARRPs and related material. Plaintiffs broadly challenge the legality of the Workforce Executive
11   Order, OPM’s guidance, and supposed USDS directives. Their purported challenges to agency
12   implementation are not garden variety APA challenges, and are derivative of their claims that the
13   Order and Workforce Memorandum direct illegal action. But even if the content of the ARRPs
14   were relevant to this case, they are plainly not necessary for the upcoming preliminary injunction
15   proceedings. Again, although this Court’s TRO Opinion reserved decision on some subsidiary
16   topics, it also concluded that the Workforce Executive Order and Workforce Memorandum were
17   unlawful and that the ARRPs flowed from illegal directives (among many other rulings adverse to
18   the Government). Respectfully, it would be extraordinary to require the Government to produce
19   broad categories of documents that are privileged and highly sensitive, on an ultra-expedited
20   timetable without allowance for appellate review when—at most—the justification is that these
21   documents might conceivably be relevant only to a potential alternative ground for an injunction.
22           Finally, if the Court does order disclosure, it should grant a seven-day administrative stay
23   of any disclosure order to allow for the Solicitor General to decide whether to seek emergency
24   appellate relief.
25                                           ARGUMENT
             I.       The ARRPs and Other Planning Documents are Privileged and their
26
                      Disclosure would Irreparably Harm the Government
27           As Defendants have explained, ARRPs are predecisional and deliberative. Motion at 3-5.
28   ARRPs are constantly subject to change, nothing in an ARRP irrevocably commits an agency to

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 1   taking a specific step, and an ARRP may change drastically as the agency’s thinking and priorities
 2   change. Id. at 4; Billy Decl. ¶¶ 4-5. Indeed, they are necessarily predecisional because they
 3   typically include plans for changes that would take place many years in the future, if at all. Billy
 4   Decl. ¶ 3. They contain many recommendations distinct from specific RIFs. Id.; TRO Opp. at 15-
 5   16. They are also deliberative. It would obviously “discourage candid discussion within the agency
 6   and thereby undermine the agency’s ability to perform its functions,” Carter v. U.S. Department
 7   of Commerce, 307 F.3d 1084, 1089 (9th Cir. 2002), if agencies’ decisionmaking process on such
 8   sensitive topics as personnel reorganizations, strategies regarding present and future regulatory
 9   changes, and congressional engagement strategies (among other things) were exposed to the public
10   before they are finalized.
11           Plaintiffs have no persuasive response. Their principal argument is that ARRPs cannot be
12   predecisional if OMB and OPM have approved them. See ECF No. 96 (Opposition) at 7; see also
13   id. at 1 (contending that the Government “carefully avoid[s] stating whether any approvals have
14   already occurred or will imminently occur”). This is a non-sequitur. Plaintiffs never come to grips
15   with the fact that ARRPs are merely plans related to future agency actions, not themselves agency
16   actions. And even to the extent OPM and OMB approve such plans, that obviously does not mean
17   that the ARRPs are set in stone such that agencies are obligated to follow all the plans,
18   recommendations, and strategies set forth in the ARRP.
19           A simple example illustrates the point. If an agency created a plan concerning five
20   regulations it was planning on issuing in the next year, that plan would obviously be predecisional
21   and deliberative, even if the agency had submitted the plan to OMB for “approval” under an
22   Executive Order and even if OMB had actually “approved” it. And no one would seriously contend
23   that OMB’s approval bound the agency to actually issue the regulations if circumstances changed
24   or the agency simply changed its mind. So too here. Plaintiffs’ contention that the mere fact of
25   alleged OMB/OPM approval “is inconsistent with the notion that ARRPs are fluid, internal
26   planning aids that the agencies consider on an ongoing basis,” Opposition at 8, thus has no basis.
27   And as discussed in the next section, Plaintiffs’ reliance on portions of an ARRP released by one
28


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 1   federal agency only reinforces—rather than refutes—the Government’s argument that these
 2   materials are privileged.
 3           Putting aside that nothing in the Workforce Memorandum remotely suggests that the
 4   ARRPs are set in stone and that OMB has unequivocally explained that they are not, it is obvious
 5   from the Workforce Memorandum itself that the ARRPs must be predecisional and deliberative.
 6   To take three representative examples: The Workforce Memorandum states that Phase 2 ARRPs
 7   should provide, among other things: (1) any proposed relocations from Washington, D.C. to less
 8   expensive areas of the country; (2) plans to improve efficiency and reduce costs through improved
 9   technology; and (3) “[a]ny changes to regulations and agency policies, including changes that must
10   be pursued through notice-and-comment rulemaking.” ECF No. 37-1 App. 2 at 5-6. That an agency
11   expresses a plan to relocate some staff (or not) does not bind it to that result, any more than it
12   might choose to pursue a different technological solution that is more cost-effective. Similarly, of
13   course an agency would not be obligated to go forward with regulatory changes (including notice-
14   and-comment rulemaking) if the agency later changed priorities or otherwise concluded that the
15   regulatory changes proposed in an ARRP were unwise. Plaintiffs’ reference to the principle that
16   the mere possibility of future revision does not necessarily make an action non-final, see
17   Opposition at 8, is thus beside the point. By their very nature, ARRPs are dynamic and fluid
18   intermediate and long-term planning documents that include strategies, plans, and
19   recommendations that are inevitably subject to modification and adjustment as the agency’s
20   thinking and priorities change, or as circumstances otherwise warrant.
21           Plaintiffs also contend that the ARRPs are pre-decisional because “[t]he terms of the
22   ARRPs submitted by Federal Agency Defendants are established by the parameters of the EO and
23   the OMB/OPM Memo.” Opposition at 7-8. This also misses the point entirely. Although the
24   Workforce Memorandum may set forth the topics ARRPs should address, the agency’s actual
25   recommendations, plans, and strategies on those topics are obviously not dictated by the
26   Workforce Memorandum, and how the agency plans to address those topics is plainly
27   predecisional and deliberative.
28


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 1           Plaintiffs also assert that “ARRPs cannot be predecisional given that their implementation
 2   is already underway.” Opposition at 8. This argument also fails. The Government has never
 3   contended—and obviously does not contend—that none of the proposed recommendations,
 4   strategies, and techniques set forth in the ARRPs will be acted upon. Relatedly, there is no merit
 5   to Plaintiffs’ claim that Defendants are “weaponiz[ing] a privilege intended to promote good
 6   government to hide secret efforts directing a wide-scale dismantling of the government.” Id. at 2.
 7   If an agency actually decides to go forward with steps that might affect Plaintiffs—RIFs, transfers,
 8   reorganizations, re-assignments, regulatory changes, etc.—Plaintiffs and the public will learn
 9   about those decisions when they are made. Indeed, when final determinations have been made,
10   agencies are publicly releasing their final plans (see, e.g., https://www.hhs.gov/press-room/hhs-
11   restructuring-doge.html; https://www.state.gov/building-an-america-first-state-department/), and
12   they are following the required notice process for RIFs where RIFs are issued.
13           Plaintiffs’ real complaint is that they would like to know the Government’s
14   recommendations, strategies, and thinking concerning matters as to which it has not made final
15   decisions. But that is just another way of saying that Plaintiffs seek predecisional and deliberative
16   information. They are not entitled to that information, particularly on the highly expedited
17   timetable they seek to require the Government to produce it.
18           Finally, Plaintiffs’ brief argument that the ARRPs are not deliberative is similarly incorrect
19   and adds nothing to the analysis. Plaintiffs simply repeat their assertion that, because agencies are
20   required to submit the ARRPs in furtherance of the Workforce Executive Order and the Workforce
21   Memorandum sets forth the items they should address, the agencies’ substantive plans,
22   recommendations, and strategies are fixed and not part of a give and take process within the
23   agencies. See Opposition at 9. As previously explained, that is wrong. The ARRPs are privileged.
            II.     Disclosure of the ARRPs would Irreparably Harm the Government
24
             Plaintiffs cannot seriously dispute that public disclosure of all the ARRPs (as well as
25
     agency applications for waivers of statutorily-mandated RIF notice periods, and any responses by
26
     OMB or OPM to such waiver requests) would irreparably harm the government. Publication of
27
     confidential documents is irreversible and quintessential irreparable harm. Motion at 5-6
28


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 1   (collecting cases). And the ARRPs contain highly sensitive information of the highest order: This
 2   “information includes strategies for agency negotiations with unions; plans and strategies for
 3   personnel reorganization that may or may not materialize, but might seriously hurt agency
 4   recruitment and retention if released; plans and strategies regarding present and future regulatory
 5   changes; plans and strategies for present and future appropriations requests; plans and strategies
 6   for congressional engagement; and plans and strategies for agency IT management.” Billy Decl.
 7   ¶ 4. This highly sensitive information “would seriously undermine agency operations if they were
 8   released.” Id.
 9           To the extent Plaintiffs respond to this line of argument at all, they rely on portions of an
10   ARRP released by the National Endowment for the Humanities (NEH). See Opposition at 10
11   (contending that NEH ARRP supposedly shows “how benign much of the information apparently
12   contained in the documents actually is”). This argument fails on every level. For one, NEH is not
13   a defendant in this case. Moreover, NEH has a small number of employees,
14   https://bestplacestowork.org/rankings/detail/?c=AJ00 (suggesting that NEH has about 125
15   employees), a miniscule budget (approximately $200 million in 2023), and implements a limited
16   set of authorities largely concerning providing grants to cultural institutions, see ECF No. 96-1 at
17   17-18. There is no basis to conclude that the content of NEH’s Plan—let alone the practical impacts
18   to the government—would be the same as disclosure of the Plans of the actual defendants in this
19   case. And as Plaintiffs note, NEH is subject to its own Executive Order. Opposition at 4 n.2. No
20   less importantly, Plaintiffs’ submission does not actually include the NEH Phase 2 ARRP;
21   Plaintiffs only attach the cover sheet, not the entire Phase 2 report. ECF No. 96-1 at 23.
22           In any event, it is clear that the documents attached to the Soriano Declaration contain
23   information that is predecisional and deliberative in nature. For example, in response to questions
24   in the Phase 1 ARRP, NEH identified “a number of NEH offices that current leadership believe
25   should be eliminated” and consolidated, and described what NEH was “considering,” including
26   offices “NEH is considering eliminating.” ECF No. 96-1 Att. C at 3 (emphasis added). The agency
27   explicitly identified ARRP Phase 1 as “a pre-decisional document.” ECF No. 96-1 Ex. 1 at 6. Also,
28   the agency marked its ARRP Phase 2 submission as “Predecisional – Deliberative.” ECF No. 96-


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 1   1 Att. D at 2. And the cover sheet for the Phase 2 ARRP (the only part of the Phase 2 ARRP
 2   attached to the Declaration) contains plans for future staffing levels at the agency, so it is obviously
 3   predecisional and deliberative (and is marked as such). Id. The cover sheet also makes clear that it
 4   allows for information to be presented for FY25, 26 and 27; plans for those years would necessarily
 5   have to be contemplated plans, not final decisions.
 6           Nor do Plaintiffs provide any persuasive response to the Government’s other points on
 7   irreparable harm. As to the Government’s point that the disclosure will undermine negotiations
 8   with unions, Plaintiffs have no response except to invoke a separate Executive Order excluding
 9   certain unions from collective bargaining. See Opposition at 13. And as Mr. Billy’s declaration
10   further explained, disclosure of the ARRPs would reveal “plans and strategies for personnel
11   reorganization that may or may not materialize, but might seriously hurt agency recruitment and
12   retention if released.” Billy Decl. ¶ 4. General intentions to conduct RIFs, reorganizations, or other
13   actions are, to a job seeker or employee, very different than plans to conduct specific
14   reorganizations or RIFs.
15           At bottom, Plaintiffs provide no plausible refutation of the undoubted irreparable harm the
16   Government would suffer from an irreversible order that it disclose dozens of high-level agency
17   planning documents with reams of sensitive information. And it would be extraordinary to require
18   the Government to produce all of these sensitive materials on a highly expedited basis, without
19   proper motion practice.
            III.   Requiring Disclosure in this Context Would Be Improper and Procedurally
20
                   Unfair to the Government
21           For reasons set forth above, the Government has sufficiently established that ARRPs and
22   associated documents are privileged from disclosure. That is clear both from the Declaration it
23   submitted and the Workforce Memorandum itself, which clearly calls for information and
24   recommendations that by their very nature will be dynamic and subject to change. But if the Court
25   has doubts on that score, the Court should set the matter for an orderly briefing schedule, including
26   requiring Plaintiffs to file an actual proper discovery motion, to follow the local rule requirements
27   for resolving discovery and disclosure disputes, see Local Rule 37-1, and give the Government an
28


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 1   adequate amount of time to supply whatever information the Court believes is required to
 2   adjudicate the privilege dispute (including individualized declarations from agencies if necessary).
 3           Notably, Plaintiffs do not—and cannot—dispute the Government’s point that the Court
 4   conducted no privilege analysis before requiring it to immediately disclose the ARRPs, let alone
 5   the sort of granular analysis the Ninth Circuit has held is required. Motion at 8; Karnoski v. Trump,
 6   926 F.3d 1180, 1206 (9th Cir. 2019). But Plaintiffs contend that the Government was given a fair
 7   opportunity to establish the privilege in responding to their TRO motion, such that it should be
 8   forced to take the irreversible step of making these highly sensitive documents public now. They
 9   remarkably assert that the Government “seeks a second bite at the apple,” Opposition at 14, and
10   has “Failed to Properly Invoke or Justify the Asserted Privilege with the Required Specificity,” id.
11   at 10. And they repeatedly criticize the Government for, inter alia, its “single, short declaration”
12   and its supposedly “cursory arguments.” Id. at 2, 7.
13           This entire line of argument is wrong. After Plaintiffs drafted a 115-page complaint, filed
14   a TRO motion, and prepared over a thousand pages of declarations and exhibits, the Government
15   filed a brief opposing Plaintiffs’ request that their 51-page brief be litigated on a TRO schedule,
16   noting that such a schedule would be “unwarranted and unfair to the United States.” ECF No. 40
17   at 6. The Court entered a schedule allowing Defendants 4 business days to respond.
18   Notwithstanding Plaintiffs’ time and effort, Plaintiffs made no attempt to file a proper discovery
19   motion. They did not file a discovery motion, nor even caption their TRO motion as seeking
20   expedited discovery. Contrary to Plaintiffs’ assertions, this does not “elevate[] form over
21   substance.” Opposition at 15. A motion for discovery seeks different relief, and is subject to
22   completely different legal standards, than the TRO relief Plaintiffs sought. And an order directing
23   the immediate disclosure of documents is not even plausibly characterized as a step to merely
24   maintain the status quo pending an adjudication on the merits. Freezing the status quo does not
25   equate to or require forcing the Government to make granular privilege objections on 4 business
26   days’ notice for 21 governmental components (including nearly every Cabinet-level Department),
27   all on pain of permanent forfeiture of its privileges.
28


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 1           Nor did Plaintiffs follow any of the local rule requirements for resolving discovery and
 2   disclosure disputes (a proposition their opposition does not dispute). They did not attempt to serve
 3   proposed discovery requests. They did not confer with the Government or indicate that their TRO
 4   motion would also seek discovery. And their entire justification for this request was a single
 5   conclusory statement at the bottom of page 50 of their 51-page brief, in which they made no
 6   attempt to establish that the ARRPs were non-privileged and otherwise subject to disclosure.
 7           Under the circumstances, the Government would have been justified—on the highly
 8   expedited timetable for responding to Plaintiffs’ 51-page TRO motion—in simply not responding
 9   to this procedurally improper and wholly conclusory demand at all. But the Government did
10   respond. It pointed out that Plaintiffs had provided no legal basis for this request, TRO Opposition
11   at 48, and stated separately that ARRPs were deliberative, id. at 21. That was more than sufficient
12   under the circumstances. And respectfully, the Court erred by ordering immediate production of
13   these documents without engaging in any privilege analysis, and without ordering briefing on the
14   subject.
15           Plaintiffs’ criticisms of the Government’s post-TRO efforts to obtain relief from the
16   Disclosure Order are similarly preposterous. See Opposition at 15 (“But it is the Government that,
17   having now taken a second opportunity to do so, has failed to assert the privilege with sufficient
18   specificity to allow for a granular evaluation.”). The Court required virtually immediate production
19   of these documents as part of a TRO Order issued just before 9:30 pm eastern time on Friday night;
20   because of the Tuesday deadline, the Government was required to seek near immediate relief from
21   this Court; and it is now being afforded one business day to reply to Plaintiffs’ opposition. Again,
22   there is no reason for this highly expedited schedule, as Plaintiffs’ desire to see the ARRPs plainly
23   does not present anything that could even plausibly be characterized as an emergency. But putting
24   that aside, the Government’s submissions amply justify its privilege assertions in this context. It
25   is wholly unreasonable to expect the Government—in opposing a TRO—to compile the sort of
26   response it would have provided if it were actually in the discovery phase of a case, or the
27   specificity it would generally provide in a Vaughn index in a FOIA case.
28


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 1           Finally, Plaintiffs cannot seriously dispute that the scope of the disclosure the Court
 2   ordered exceeds even what Plaintiffs sought in their motion. See ECF No. 37-3 (requesting only
 3   “current versions” of the Plans). Plaintiffs acknowledge that they first asked for “waivers” of the
 4   60-day RIF notice period at the end of the live hearing. Tr. at 43. Nor did Plaintiffs ever ask for
 5   “agency applications for waivers” at all. The language they quote from the hearing—“receiving
 6   and granting waivers”—is not a request for “applications,” and even if it was, it plainly would be
 7   unfair to the Government to order disclosure of assertedly privileged materials based on a cryptic
 8   and conclusory oral request at a hearing, without any briefing at all.
            IV.    The ARRPs Are Not Necessary for the Upcoming Preliminary Injunction
 9
                   Hearing
10           Again, the Court need not decide whether disclosure of the ARRPs could be required or
11   should be required in the future in order to grant the relief requested. But in any event, the ARRPs
12   are not relevant to the case and, even if minimally relevant, are certainly not necessary for the
13   upcoming preliminary injunction hearing
14           Beginning with relevance, the content of specific ARRPs is not even arguably relevant to
15   six of Plaintiffs’ seven claims. Claims I-V are not asserted against the federal agency defendants
16   and involve direct challenges to the Workforce Executive Order and Workforce Memorandum (as
17   well as unspecified supposed alleged USDS directives). Plaintiffs insist that they “also challenge
18   agencies’ actions to implement the reorganization.” Opposition at 6. But Claim VI is just derivative
19   of Plaintiffs’ (incorrect) understanding of the Executive Order and Workforce Memorandum and
20   does not depend upon any particular ARRP’s contents—the entire basis of that claim is that the
21   federal agency defendants acted unlawfully by following the Executive Order and Workforce
22   Memorandum. See ECF No. 1 (Compl. ¶ 396). 2 Claim VII is the only claim that even conceivably
23
24   2
       In full, that paragraph states as follows: “None of the Federal Agency Defendants have the
     statutory authority to cede their decision-making authority with respect to the employees of that
25   agency to the President, OMB, OPM, or DOGE. None of the Federal Agency Defendants have the
26   statutory authority to implement the President’s unconstitutional direction to engage in large-scale
     RIFs, including with respect to functions, programs, or offices that the President and those acting
27   on his authority have decided to cut; or to impose staffing cuts that take an agency, irrespective of
     duty or need, back to government-shutdown lapse levels. The Federal Agency Defendants have
28
     exceeded their authority by implementing the President’s unconstitutional plans.”

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 1   could be read as attacking the merits of particular ARRPs independent of the Executive Order and
 2   Workforce Memorandum. And even that is a stretch. The claim includes a hodgepodge of
 3   allegations, but all of them appear to involve things Plaintiffs allege that the Executive Order and
 4   Workforce Memorandum require the agencies to do. Id. ¶ 403. 3
 5           But even assuming that Plaintiffs are correct that the ARRPs satisfy Rule 26(b)(1)’s
 6   minimal relevance standard, that is not the relevant question. See Opposition at 4. Rather, the
 7   question is whether the ARRPs are necessary for the upcoming preliminary injunction hearing—
 8   and indeed, so central to that hearing that the Government should be required to irreversibly
 9   produce assertedly privileged documents on an emergency timetable without an ordinary discovery
10   motion or briefing, and without an orderly opportunity for the Government to seek appellate
11   review. The answer to that question is plainly no.
12           To see why, one need only look at the Court’s TRO opinion. This Court concluded the
13   following: at least some of all three groups of Plaintiffs have standing, TRO Opinion at 13-18,
14   none of the Plaintiffs are required to channel their claims, id. at 18-25, the Workforce Executive
15   Order is subject to review, id. at 30, the Workforce Memorandum is final agency action subject to
16   review under the APA, id. at 35-36, the Workforce Executive Order and Workforce Memorandum
17   are unlawful (among other things, that statutory authority for the Executive Order is “plainly
18   lacking,” id. at 27, and that the Workforce Memorandum “is far outside the bounds of any authority
19   that Congress vested in OPM or OMB,” id. at 34), Plaintiffs established irreparable harm, id. at
20   37-38, and the balance of interests favor injunctive relief, id. at 38-39. And the Court reached these
21   conclusions after holding a live hearing, as well as reviewing voluminous briefing, thousands of
22   pages of declarations, and amicus briefs on both sides. The Court was already able to resolve all
23   of the legal questions necessary to decide a preliminary injunction motion. That is why the
24   Government respectfully asked the Court to simply issue a preliminary injunction at the hearing if
25   it was going to issue any preliminary relief at all.
26
27   3
      Earlier today, Plaintiffs filed an amended Complaint. ECF No. 100. That Complaint also asserts
     seven claims and it does not appear that there is any meaningful change in those claims from the
28
     original Complaint.

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 1           The fact that the Court reserved decision on the merits of Plaintiffs’ arbitrary and capricious
 2   claims, id. at 37, does not change the basic point that disclosure of the ARRPs is not necessary for
 3   the Court to decide whether to issue a preliminary injunction. For one, the Court itself held that it
 4   could issue a TRO against individual ARRPs because they “flow from likely illegal directives.”
 5   Id. at 39. If the Court reaches the same conclusion, it is unclear how reviewing individual
 6   ARRPs—no matter how well reasoned—could affect the preliminary injunction analysis. More
 7   fundamentally, the purpose of a preliminary injunction is to provide interim relief pending a full
 8   adjudication on the merits; the Court does not necessarily need to resolve Plaintiffs’ likelihood of
 9   success on all seven claims at the preliminary injunction stage, just as it did not do so at the TRO
10   stage. And that certainly does not justify requiring the Government to make immediate disclosure
11   of highly sensitive materials.
12           Finally, the foregoing considerations also easily dispose of Plaintiffs’ meritless claim that
13   the Government’s privilege is overcome here. The ARRPs are not “highly relevant,” Opposition
14   at 12, and they are not relevant at all to the preliminary injunction proceedings. The Government
15   is not “act[ing] in secret.” Id. The basis of this claim is that the Government has not disclosed
16   ARRPs, but again, that is because ARRPs are not final actions. Nor do Plaintiffs need the pre-
17   decisional and deliberative ARRPs to learn what is going on at agencies that concern them—since
18   as previously explained, agencies have disclosed final decisions.
             V.     At a Minimum, the Court Should Restrict Disclosure of the ARRPs to the
19
                    Court and Plaintiffs’ Counsel
20           Given the foregoing, there is no basis for ordering disclosure of the ARRPs at all. But even
21   if the Court were to conclude, for example, that the ARRPs are necessary to the litigation of the
22   preliminary injunction motion (which, respectfully, they are not), or that Plaintiffs had overcome
23   the Government’s qualified privileges (which they have not), Plaintiffs provide no good reason
24   that these highly sensitive deliberative materials need to be disseminated publicly. At the very
25   least, any disclosure obligation should be restricted to only Plaintiffs’ counsel—especially given
26   the fact that the ARRPs contain “strategies for agency negotiations with unions.” Again, as
27   explained in the Motion, even this intermediate step is wholly unwarranted, would not fully cure
28   the problems with the Disclosure Order, and would not obviate the Government’s need to seek

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 1   immediate appellate relief and a stay of any such ruling. But it would ameliorate some of the most
 2   significant harms to the Government of having its deliberative work-product made public.
 3
             VI.      The Court Should Grant an Immediate Administrative Stay
 4           Finally, if the Court does order disclosure, it should grant a seven-day administrative stay
 5   of any disclosure order to allow for the Solicitor General to decide whether to seek emergency
 6   appellate relief (including a seven-day administrative stay of any order requiring disclosure under
 7   a protective order). Particularly since immediate disclosure of these documents is not even
 8   plausibly necessary to meet an ongoing emergency, the Court should give the Ninth Circuit and
 9   potentially the Supreme Court a reasonable opportunity to determine if this Court should have the
10   final word on whether the ARRPs and other documents must be disclosed.
11                                                  CONCLUSION
12           For the foregoing reasons, the Court should relieve Defendants of the obligation to produce
13   the ARRPs and related material, and grant a seven-day administrative stay of any disclosure order.
14
     Dated: May 14, 2025                                  Respectfully submitted,
15
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